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                             EXHIBIT 1
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     FUSION· GPS· 30(b)(6), Attorneys Eyes Only                  August 30, 2018
     ALEKSEJ GUBAREV -v- BUZZFEED INC.                                         1

·1· · · · · · · · · UNITED STATES DISTRICT COURT

·2· · · · · · · · · SOUTHERN DISTRICT OF FLORIDA

·3· · · · · · · · · · · · MIAMI DIVISION

·4

·5· ·_______________________________

·6· ·IN RE THIRD PARTY SUBPOENA TO· |· ·Case No.

·7· ·FUSION GPS· · · · · · · · · · ·|· ·0 18-mc-60528-UU

·8· ·_______________________________|

·9· ·ALEKSEJ GUBAREV,· · · · · · · ·|

10· ·XBT HOLDING S.A. and· · · · · ·|

11· ·WEBZILLA, INC.· · · · · · · · ·|· ·Case No.

12· · · · Plaintiffs,· · · · · · · ·|· ·0 17-cv-60426-UU

13· ·-v-· · · · · · · · · · · · · · |

14· ·BUZZFEED, INC., and· · · · · · |

15· ·BEN SMITH· · · · · · · · · · · |

16· · · · Defendants.· · · · · · · ·|

17· ·_______________________________|

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                                                            EsquireSolutions.com
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     FUSION· GPS· 30(b)(6), Attorneys Eyes Only                  August 30, 2018
     ALEKSEJ GUBAREV -v- BUZZFEED INC.                                         2

·1· · · · · · · · · Deposition of Peter R. Fritsch

·2· · · · · · · · · · · · Washington, DC

·3· · · · · · · · · ·Thursday, August 30, 2018

·4· · · · · · · · · · · · ·10:00 a.m.

·5

·6

·7· ·Job No: J2625547

·8· ·Pages:· 1-271

·9· ·Reported by:· Kenneth Norris

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                                                            EsquireSolutions.com
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     ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       111

·1· ·network, wherever they may be -- it may be.

·2· · · · Q.· ·And if you look at the first page at the

·3· ·top, it reads:· Company Intelligence Report 2016-080.

·4· · · · · · ·What do you understand the purpose of

·5· ·company intelligence report to be?

·6· · · · A.· ·Orbis's internal nomenclature or labelling

·7· ·system.

·8· · · · Q.· ·And did you understand the reference to

·9· ·company intelligence report to distinguish it from,

10· ·for example, a government document?

11· · · · · · ·MR. SIEGEL:· Objection.

12· · · · · · ·THE WITNESS:· I don't know.· I never thought

13· ·of that.

14· ·BY MR. FRAY-WITZER:

15· · · · Q.· ·And I'd like for you to take a look through

16· ·what's been marked as Exhibit Number 8.· And tell me,

17· ·if you can, does this represent all of the memorandum

18· ·that Christopher Steele produced and provided to

19· ·Fusion GPS?

20· · · · A.· ·Yes, I believe so.

21· · · · Q.· ·If you would look back for a moment at what


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     ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       270

·1· · · · · · ·REPORTER'S CERTIFICATE

·2· · · · · · ·District of Columbia

·3· · · · · · ·County of Washington, to wit:

·4· · · · · · · · ·I, KENNETH NORRIS, a Notary Public of

·5· ·the District of Columbia, County of Washington, do

·6· ·hereby certify that the within named witness

·7· ·personally appeared before me at the time and place

·8· ·herein set out, and after having been duly sworn by

·9· ·me, according to law, was examined.

10· · · · · · · · · I further certify that the examination

11· ·was recorded stenographically by me and this

12· ·transcript is a true record of the proceedings.

13· · · · · · · · · I further certify that I am not of

14· ·counsel to any of the parties, nor in any way

15· ·interested in the outcome of this action.

16· · · · · · · · · As witness my hand and notarial seal

17· ·this 30th day of August 2018.

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